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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 JUNE JONES AND MELISSA                      )
 CLEARY,                                     )    CIVIL ACTION NO.
                                             )
      Plaintiffs,                            )
                                             )
 v.                                          )   JURY TRIAL DEMANDED
                                             )
 BUCKHEAD DENTAL CENTER,                     )
 P.C., BROOKHAVEN DENTAL                     )
 ASSOCIATES P.C., AND DR. VIK                )
 BHATIA (Individually)                       )

      Defendants.


                                  COMPLAINT


        COME NOW Plaintiffs June Jones and Melissa Cleary (collectively

“Plaintiffs”) by and through their undersigned counsel and set forth this Complaint

for damages against the above-named Defendants, Buckhead Dental Center, P.C.

(“Buckhead Dental”) and Brookhaven Dental Associates P.C. (“Brookhaven

Dental” collectively “Corporate Defendants”), and Dr. Vik Bhatia individually (“Dr.

Bhatia”). Plaintiffs respectfully show this Court as follows:

                                INTRODUCTION

        Ms. Jones and Ms. Cleary were both formerly employed by all Defendants.

Both were sexually harassed by Dr. Bhatia, the owner of Corporate Defendants. Ms.

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Jones started at Buckhead Dental in February 2018, but at Buckhead Dental she had

to work with Dr. Craig Smith. Dr. Smith commonly watched pornography that she

found offensive. She complained to the office Manager, Carolyn Kokas. Instead of

addressing the problem, Ms. Kokas offered to move her to another location owned

by Dr. Bhatia, Brookhaven Dental. In approximately, March 2018, Ms. Jones moved

to Brookhaven where she began to work with Dr. Bhatia. Dr. Bhatia was initially

friendly, and the two became friends. Dr. Bhatia praised Ms. Jones’ work, and he

made her a permanent employee, and he gave her substantial freedom. Dr. Bhatia

asked Ms. Jones if he could see a condo that she was trying to remodel and sell. Ms.

Jones agreed, but while looking at the condo he pressured her into sex. Afterwards,

Dr. Bhatia wanted to continue the sexual relationship. Ms. Jones declined to

continue the relationship. Ms. Jones’ refusal of Dr. Bhatia’s advances frustrated Dr.

Bhatia, and he began to criticize Ms. Jones’ work and to retaliate against her for

refusing his sexual advances. Ultimately, in March 2020, Ms. Jones was fired when

she would not agree to continue her sexual relationship with Dr. Bhatia.

      Plaintiff Melissa Cleary faced similar treatment. She discussed employment

with the Corporate Defendants, but Ms. Kokas said that Plaintiff’s demanded hourly

rate was too high, and that her school schedule would interfere with her work. Dr.

Bhatia called Ms. Cleary and said that they would work something out. Around

Summer 2018, Dr. Bhatia eventually agreed to make Ms. Cleary a consultant for the


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Corporate Defendants. Dr. Bhatia agreed to pay her the wages she wanted, but he

demanded that sex be a condition of her employment. When Ms. Cleary objected to

a sexual relationship, she was sexually assaulted and ultimately terminated when she

ended the relationship in summer 2019.

       This action is for sexual harassment and retaliation arising under Title VII of

the Civil Rights Act of 1964 as amended, 42 U.S.C. §2000e, et seq. (“Title VII”) as

well as pendent state law claims of assault and battery. Plaintiffs seek declaratory

and injunctive relief, back pay, front pay, compensatory damages, punitive damages

and attorney’s fees and costs.

                           JURISDICTION AND VENUE

       1.     Plaintiffs’ claims present federal questions and this Court has subject

matter jurisdiction under 28 U.S.C. § 1331 and 42 U.S.C. §2000e-5(f)(3).

       2.     This Court is an appropriate venue for Plaintiffs’ claims under 28

U.S.C. § 1391(b) and 42 U.S.C. §2000e-5(f)(3), because all of the parties reside

within the Northern District of Georgia, and a substantial majority of events giving

rise to Plaintiffs’ claims occurred in this judicial district.

                       ADMINISTRATIVE PROCEEDINGS

       3.     Plaintiff Jones timely filed a charge of discrimination and retaliation

with the Equal Employment Opportunity Commission (“EEOC”). A true and




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accurate copy of the Charge is attached hereto as Exhibit “A and is incorporated

herein.

      4.     Ms. Cleary’s sexual harassment and retaliation claims are piggybacking

on Ms. Jones’ EEOC charge, as they are similarly situated Plaintiffs.

      5.     Ms. Jones received a notice of right to sue from the EEOC within the

last ninety (90) days and has complied with all other conditions precedent to the

institution of this lawsuit. A true and accurate copy of the Notice of Right to Sue is

attached hereto as Exhibit “B” and is incorporated herein.

                                     PARTIES

      6.     Both Plaintiffs are female.

      7.     Both Plaintiffs are citizens of the United States and reside in the

Northern District of Georgia.

      8.     Both Plaintiffs were employed by Defendants at all times material to

this Complaint.

      9.     Both Plaintiffs are members of a protected class under Title VII.

      10.    Defendant Buckhead Dental Center, P.C. is a domestic professional

corporation licensed to and actually conducting business within the geographic

boundaries of the United States District Court for the Northern District of Georgia.

      11.    Defendant Buckhead Dental Center, P.C. is subject to the jurisdiction

of this Court and may be served with process by serving its registered agent, Andrew


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Shaul, at 2700 Paces Ferry Road SE, Unit 906, Atlanta, Georgia 30339 if formal

service of process is not waived.

      12.       Defendant BROOKHAVEN DENTAL ASSOCIATES, PC. is a

domestic professional corporation licensed to and actually conducting business

within the geographic boundaries of the United States District Court for the Northern

District of Georgia.

      13.       Defendant BROOKHAVEN DENTAL ASSOCIATES, PC. is subject

to the jurisdiction of this Court and may be served with process by serving its

registered agent, Andrew Shaul, at 2700 Paces Ferry Road SE, Unit 906, Atlanta,

Georgia 30339 if formal service of process is not waived.

      14.       Corporate Defendants each employed fifteen or more employees for

each working day in each of twenty or more calendar weeks in 2018 and 2019.

      15.       Corporate Defendants are subject to the anti-discrimination provisions

of Title VII.

      16.       Individual Defendant Dr. Bhatia is subject to the jurisdiction of this

Court and may be served with process if formal service of process is not waived.

                             FACTUAL ALLEGATIONS

Plaintiff June Jones

      17.       Ms. Jones started at Buckhead Dental in February 2018 as a dental

hygienist.


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      18.       At Buckhead Dental Ms. Jones had to work with Dr. Craig Smith.

      19.       Dr. Smith commonly watched pornography that she found offensive.

      20.       Ms. Jones complained to the Office Manager, Carolyn Kokas about Dr.

Smith watching pornography.

      21.       Instead of addressing the problem, Ms. Kokas offered to move her to

another location owned by Dr. Bhatia, Brookhaven Dental.

      22.       In approximately, March 2018, Ms. Jones moved to Brookhaven where

she began to work with Dr. Bhatia.

      23.       Dr. Bhatia was initially friendly, and the two became friends.

      24.       Dr. Bhatia praised Ms. Jones’ work, and he made her a permanent

employee, and he gave her substantial freedom.

      25.       Dr. Bhatia asked Ms. Jones if he could see a condo that she was trying

to remodel and sell.

      26.       Ms. Jones agreed but while looking at the condo Dr. Bhatia pressured

her into sex.

      27.       Afterwards, Dr. Bhatia wanted to continue the sexual relationship.

      28.       Ultimately, Ms. Jones declined to continue a sexual relationship.

      29.       Ms. Jones’ refusal of Dr. Bhatia’s advances frustrated Dr. Bhatia, and

he began to criticize Ms. Jones’ work and to retaliate against her for refusing his

sexual advances.


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       30.   Defendants retaliated against Ms. Jones by reducing her freedom,

cutting her pay, demoting her and ultimately in March 2020, firing Ms. Jones.

       31.   All the above adverse actions were the result of Ms. Jones not agreeing

to continue her sexual relationship with Dr. Bhatia.

Plaintiff Melissa Cleary

       32.   Ms. Cleary discussed employment with the Corporate Defendants in

summer 2018.

       33.   Ms. Kokas said that Plaintiff’s demanded hourly rate was too high, and

that her school schedule would interfere with her work.

       34.   Dr. Bhatia called Ms. Cleary and said that they would work something

out.

       35.   In the summer of 2018, Dr. Bhatia eventually agreed to make Ms.

Cleary a consultant for the Corporate Defendants.

       36.   Dr. Bhatia agreed to pay her the wages she wanted, but he demanded

that sex be a condition of her employment.

       37.   Ms. Cleary initially felt she had no choice but to engage in a sexual

relationship with Dr. Bhatia.

       38.   However, over time, Ms. Cleary began to object to a sexual relationship

with Dr. Bhatia.




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      39.    Ms. Cleary attempted on multiple occasions to break off the sexual part

of the relationship and just consult as she was hired to do.

      40.    Dr. Bhatia would not honor her request to end the sexual relationship

and he sexually assaulted and battered her.

      41.    Defendants ultimately terminated Ms. Cleary in summer 2019 when she

stopped having sex with Dr. Bhatia.

                            COUNT I
            SEXUAL HARASSMENT IN VIOLATION OF TITLE VII

      42.    Plaintiffs hereby incorporate each and every preceding paragraph as if

fully set forth herein.

      43.    This count is against both Corporate Defendants.

      44.    Each Plaintiff is an “employee” and belongs to a protected group as

defined by Title VII, 42 U.S.C. § 2000e et seq.

      45.    Corporate Defendants are “employers” as defined by Title VII, 42

U.S.C. § 2000e et seq.

      46.    Plaintiff Jones was subjected to a sexually harassing (“hostile work”)

work environment by Dr. Smith and Dr. Bhatia for which all Defendants are liable.

      47.    Plaintiff Jones was subjected to quid pro quo sexual harassment by Dr.

Bhatia for which Corporate Defendants are liable.

      48.    Plaintiff Cleary was subjected to quid pro quo sexual harassment by Dr.

Bhatia for which Corporate Defendants are liable.

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       49.    This unwelcomed sexual harassment was sufficiently severe and

pervasive enough to alter the terms and conditions of Plaintiffs’ employment and to

create a hostile and discriminatorily abusive working environment.

       50.    At all times relevant to this action Corporate Defendants knew of the

sexual harassment Plaintiffs were experiencing and the existence of a hostile work

environment but failed to take immediate remedial action to protect Plaintiffs.

       51.    Instead, Corporate Defendants allowed a sexually harassing work

environment to exist and continue.

       52.    Moreover, Corporate Defendants effectively ratified the hostile work

environment by allowing the harassing environment to continue unabated and for

opposing the unlawful conduct.

       53.    Corporate Defendant’s actions constitute unlawful intentional sex

discrimination in violation of Title VII of the Civil Rights Act, as amended, thus

entitling Plaintiffs to all appropriate relief under the statute.

       54.    Corporate Defendants’ actions were willful, deliberate, and intended to

cause Plaintiffs harm and/or were committed with reckless disregard of the harm

caused to Plaintiffs and were in derogation of their federally protected rights.

       55.    As a direct and proximate result of the above-mentioned discriminatory

conduct, Plaintiffs have suffered damages including lost wages and benefits from




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their termination and/or reduction in pay, diminished employment opportunities, and

emotional distress, for which Corporate Defendants are liable.

                               COUNT II
                 RETALIATION IN VIOLATION OF TITLE VII

         56.   Plaintiffs hereby incorporate each and every preceding paragraph as if

set forth fully herein.

         57.   This count is against both Corporate Defendants.

         58.   Plaintiffs each engaged in a protected activity under Title VII by

making complaints of sexual harassment.

         59.   Because of Plaintiffs’ complaints of sexual harassment, Plaintiffs have

each effectively been terminated in retaliation for engaging in protected activity by

complaining of and opposing the sexual harassment.

         60.   Corporate Defendants’ actions constitute unlawful intentional

retaliation in violation of Title VII of the Civil Rights Act, as amended.

         61.   Corporate Defendants willfully and wantonly disregarded Plaintiffs’

rights and Corporate Defendants’ retaliation against Plaintiffs was undertaken in bad

faith.

         62.   As a result of Corporate Defendants’ unlawful actions, Plaintiffs have

suffered lost compensation and other benefits of employment, significantly

diminished employment opportunities, emotional distress consisting of, but not



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limited to, outrage, shock, and humiliation, inconvenience, loss of income, and other

indignities.

                                      COUNT III

                                      ASSAULT

      63.      Plaintiffs hereby incorporate each and every preceding paragraph as if

set forth fully herein.

      64.      This count is against all three Defendants.

      65.      By and through the conduct, actions, and malfeasance cited above,

Corporate Defendants and Dr. Bhatia ’s actions constitute an intentional act by that

created an apprehension in Plaintiffs of imminent harmful or offensive contact.

      66.      Because of Defendants’ assault, Plaintiffs have suffered damages in the

form of lost wages and benefits, diminished employment opportunities, and

emotional distress.

                                      COUNT IV

       NEGLIGENT SUPERVISION AND NEGLIGENT RETENTION

      67.      Plaintiffs hereby incorporate each and every preceding paragraph as if

set forth fully herein.

      68.      This count is against both Corporate Defendants.

      69.      At all times material to this Complaint, Corporate Defendants owed a

legal duty of care toward its employees to exercise reasonable care and prudence in


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the hiring, supervision, and retention of its employees. By and through the conduct,

actions, and malfeasance cited above, Corporate Defendants breached the above

described legal duties of care that it owed to Plaintiffs.

      70.    Corporate Defendants knew that Dr. Bhatia was subjecting Plaintiffs to

sexually harassing comments and behavior and about the open and obvious nature

of Dr. Bhatia’s conduct in the workplace.

      71.    Corporate Defendants failed to take prompt and appropriate remedial

steps to protect Plaintiffs from sexual harassment by Dr. Bhatia.

      72.    Because of Corporate Defendants’ negligent supervision and retention,

Plaintiffs have suffered damages in the form of lost wages and benefits, significantly

diminished employment opportunities, and emotional distress.

      WHEREFORE, Plaintiffs demand a trial by jury and for the following relief:

      (a)    that Summons issue;

      (b)    that Defendants be served with Summons and Complaint;

      (c)    that trial by jury of all issues be had;

      (d)    that judgment be issued against Defendants for any and all general,

             special, liquidated, and where applicable, punitive damages as allowed

             by law under each and every count and cause of action contained in this

             Complaint;

      (e)    for injunctive relief and declaratory relief;


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     (f)   for all costs of this action to be taxed against Defendants;

     (g)   for all costs and attorneys’ fees to be awarded to Plaintiffs; and

     (h)   for any and all further relief as this Court may deem just and equitable

           under the circumstances.

     Respectfully submitted, this 22nd day of December, 2020.

                                                   /s/ J. Stephen Mixon
                                                   J. Stephen Mixon
                                                   Georgia Bar No. 514050
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